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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MAROOF HAQUE

           Plaintiff                CIVIL ACTION

     vs.
                                    NO. 15-CV-1355
SWARTHMORE COLLEGE
                                    FILED UNDER SEAL
           Defendant
                                                           FILED
                                                           MAR 2 - 2017
                                  ORDER                  KATE BARKMAN, Clerk
                                                        By          Oep. Clerk

     AND NOW, this                        day of February, 2017, upon

consideration of Defendant's Motion to Disqualify Plaintiff's

Counsel, it is hereby ORDERED that the Motion is GRANTED for the

reasons set forth in the preceding Memorandum Opinion and Raul

Jauregui, Esquire and the Law Firm of Parish McCabe is

DISQUALIFIED from any further representation in this matter.

     IT IS FURTHER ORDERED that all proceedings in this matter

are STAYED for a period of forty-five       (45) days to enable

Plaintiff to obtain new counsel to represent him.


                                        BY THE COURT:
